Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 1 of 19 PageID# 639



                                UNITED    STATES   DISTRICT     COURT

                        FOR THE     EASTERN DISTRICT        OF VIRGINIA                  FILED
                                         Norfolk Division

                                                                                         ' - 2 2018
 GRADILLAS         COURT REPORTERS,
  INC. ,                                                                        ULtHK, U.S. DISTRICT COU \T
                                                                                       NORFOLK. VA

                   Plaintiff,

 V.                                                     Civil Action No.       2:17cv597


 CHERRY BEKAERT,           LLP,
 et a l , ,


                   Defendants.


                                  REPORT AND   RECOMMENDATION


           In this action alleging breach of contract and professional

 malpractice,         Plaintiff        Gradillas        Court   Reporters,       Inc.,      seeks

 partial       judgment on the pleadings as to its breach of contract

  claim against Defendants Cherry Bekaert, LLP, and Sara Crabtree.

 Mot.      (ECF No.     37) .      Plaintiff has alleged Defendants breached a

  contract and committed malpractice by failing                          to timely submit

 Gradillas'          bid    to     perform     court       reporting         services      to     a

 potential government client.

           After    reviewing       the    pleadings      and    exhibits      submitted         in

  support of the parties' respective positions on the Motion,                                this

  Report       concludes        that     Defendants'       Answer   contests         both       the

  existence of the specific duty alleged and the asserted breach

 of     that    duty.        Accordingly,          as   explained       in   greater      detail

 below,       the court should DENY the Motion,                 except i t should STRIKE
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 2 of 19 PageID# 640



  Defendants'            affirmative          defense      that       Plaintiff          failed     to


 mitigate its damages.^

                                         I.      BACKGROUND


        The     court      recites      the    facts    of    the    case    as    alleged or as

  contested         by         Cherry     Bekaert,           LLP,      and        Sara     Crabtree

  (collectively, ''Cherry Bekaert") as the non-moving party^ in the
 Motion,       and draws all reasonable inferences from those facts in

  their favor.            See Massey v. Ojaniit,             759 F.3d 343,         347    {4th Cir.

  2014) .

        Gradillas Court Reporters,                  Inc.      ("Gradillas")/         offers court

  reporting services and is owned by Josephine Gradillas.                                    Answer

 at ft 1, 13.^             Gradillas has performed court reporting services

  for government agencies for many years.                             Id.    H 40.        Since the

  execution of a           2 012 letter outlining the contract between them,

 Gradillas         has    engaged the         services of           Cherry Bekaert,         LLP,    an

  accounting and consulting firm.                       See 2012 Contract (ECF No. 39-

  1).        The      contract          described       the     general       privileges           and

 obligations          of       the     parties    under        the     agreement,         including


 ^ Although Cherry Bekaert requested a hearing on the Motion, see Notice (ECF
 No. 44), oral argument was not necessary to resolve the issues presented.
  See E.D.   Va.   Civ.   R.   7{J).


  ^ The Defendants have           litigated the    instant motion in concert and so are
  treated collectively.

  ^ Citations to paragraphs in the Answer are to be read in concert with the
  corresponding paragraphs in the Complaint.                 If a distinction between the two
  is needed,   they are cited separately.
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 3 of 19 PageID# 641



 subjects like hourly service rates and limitations on the nature

 of their engagement,                  but did not assign specific tasks.                             As a

 result,       the    written      contract         did not         address      the    specific       bid

 underlying this action                  ,    nor did it assign responsibility for

 the timely submission of any bid.                            See id.         Since entering its

 agreement with Gradillas in 2012,                        Cherry Bekaert has performed

 both      general          accounting          services            and      services          rendered

 specifically          in        support       of     Gradillas'            pursuit      of      various

 government          contracts         for    court    reporter          services.           Answer at

 HH 2, 57, 18.

         In the spring of 2017, Cherry Bekaert accepted a task under

 the     agreement          to    assist       Gradillas            in    the     preparation           and

 submission of a bid for court reporting services with the U.S.

 Securities and Exchange Commission ("SEC").                                 Answer at tH 26-27.
 The    deadline       for       the   bid was        noon,    Eastern Daylight               Time,      on

 March 17, 2017, and this was known to Cherry Bekaert.                                        Answer at

 1 25.

         The    lead     employee            from    Cherry         Bekaert      assigned        to     the

 contract       with Gradillas was                  Susan Crabtree.               Answer at           H 26.

 Through Crabtree, Cherry Bekaert agreed to "to provide services

  in preparing the bid."                      Answer at         t     27.        Neither      the      2012

  contract       nor     the       emails       discussing            the       SEC    bid     assigned

  responsibility for submitting the bid before the noon deadline

 on March 17, 2017.                (ECF No. 39-1, 39-2, 39-3).                        In fact.    Cherry
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 4 of 19 PageID# 642



 Bekaert asserts that it was to provide a draft to Gradillas and

 that     Gradillas        would    submit      the   bid.      Later,      delays    by     both

 parties caused Gradillas to change this plan at the last minute,

 resulting in the bid being late.                      Def.'s Br. at 8         (ECF No.       41)

  (citing        Emails    between      Sara    Crabtree      and    Josephine       Gradillas

  (Mar.    17,    2017)    (ECF No.     41-2,   41-3)).

          There is no dispute that the bid was submitted to the SEC

 contracting officer three minutes after the deadline.                               Answer at

 H 29.       Although Gradillas alleges Crabtree submitted the bid,

 Cherry Bekaert has not admitted this fact.                               Answer at H 29.

 Cherry Bekaert has also not admitted that the bid was rejected

 for having been submitted after the                         deadline.       See Answer at

 1|30.     After the bid was submitted late, Crabtree did contact the

 SEC contracting officer to tell the contracting officer it was

 her,     Crabtree's,        ^^fault"     that Gradillas        "lost the chance to be

 considered for            [the bid]."         Answer at H 33;        see also Answer at

 34.


          Gradillas       filed     the    instant     action    alleging      professional

 negligence and breach of contract against Cherry Bekaert in the

 Superior Court of the District of Columbia.                           Compl.      (ECF 1-2).

 Cherry Bekaert removed the case to the U.S. District Court for

  the    District     of    Columbia.          Removal      Notice   (ECF   No.    1) .      That

 court      subsequently           transferred        the    case    to     this     court     to
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 5 of 19 PageID# 643



 establish proper venue.                  See Hrn'g Tr.             at 20-24          (Oct.    6,    2017)

  (ECF No.      18).

         Gradillas'       pending        motion    seeks        "partial          judgment          on    the

 pleadings,"           asserting    that        Cherry    Bekaert          has        admitted       facts

 sufficient        to establish a          breach of duty and some damage                                from

 the company's lost opportunity.                    The company also claims several

 of    Cherry Bekaert's            affirmative       defenses             are    defectively pled

 and seeks to preclude further argument on them at trial.                                           Cherry

 Bekaert denies           that its pleadings permit entry of                             judgment on

 any    part      of    the    claim,     and     with    one       exception           defends          each

 affirmative defense as                 correctly asserted.                    Counsel have fully

 briefed the Motion, making it ripe for the court's review.

                                          II.    ANALYSIS


 a.      Standard of Review.


         Rule     12(c)       motions    are     governed by             the     same    standard as

 motions brought under Rule 12(b) (6).                           Massey,          759 F.3d at 347

  (citing Edwards v.             City of Goldsboro,                 178    F.3d 231,           243       (4th

 Cir.     1999)).         In     order     to    survive        a    Rule        12(c)        motion,       a

 pleading must assert facts or issue denials that are "plausible

 on     [their]      face."      C. f.    Ashcroft       v.     Iqbal^          556   U.S.     662,       678

  (2009) .      A denial or assertion is plausible on its face when it

 permits       the     reasonable        inference       that       it    is     true.        Id.         The

 court considers the complaint in the light most favorable to the

 plaintiff,        reads the complaint as a whole,                         and takes the facts
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 6 of 19 PageID# 644



 asserted therein as true.                    Mylan Labs.,                 Inc.    v.    Matkari,     7 F.3d

 1130,    1134     (4th Cir.         1993);       Massey,           759    F.3d at        347.      However,

 the court may also refuse to accept allegations that contradict

 matters       properly        subject       to    judicial notice                  or exhibits        which

 are   referenced in the pleadings.                               Blankenship v.            Manchin,     471

 F.3d 523,       529   (4th Cir.          2006).

         The     court         has         considered               Cherry         Bekaert's        Answer;

 Gradillas' Complaint; and exhibits to the Rule 12(c) motion that

 were integral to the complaint and authentic.                                          Massey,    759 F.3d

 at 347        (citing Fed.          R.    Civ.        P.    10(c));        Philips v.           Pitt Cnty.

 Mem' 1 Hosp. ,        572 F.3d 176,              180       (4th Cir.        2009).        Specifically,

 The   court     considered the              text       of     the    2012        Summary of        Services

 letter    and     the    correspondence                between Gradillas                  and    Crabtree,

 all of which Gradillas submitted as exhibits in support of its

 Motion.        (ECF Nos.       39-1,      39-2,       39-3).

 b.      Choice of Law.


         This    case     was       transferred              to     cure    improper        venue.       See

 Hrn'g     Tr.    at     20-24       (Oct.        6,        2017)     (ECF        No.    18).       After   a

 transfer under 28 U.S.C.                   § 1406,          the choice of law rules of the

 state in which the transferee court sits govern the case.                                              See,

 e.g.,    Gerena v.       Korb,           617 F.3d 197,              204    (2d Cir.        2010)     ("If a

 district court receives a                   case pursuant to a                     transfer under 28

 U.S.C.    § 1406(a)       .    .    . it logically applies the law of the state

 in which it sits,              since the original venue,                          with its governing
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 7 of 19 PageID# 645



 laws,    was never a           proper option.")/                 Lafferty v.           St.   Riel,        495

 F.3d    72,    77        (3d Cir.     2007)       ("When cases            have    been transferred

 for     improper          venue,      transferee           courts          generally         apply        the

 substantive          law     they    would        have     applied         had    the    action       been

 brought there initially.");                      Ellis v.        Great Sw.        Corp.,      646 F.2d

 1099,    1110        (5th     Cir.        1981)        ("[F]ollowing         a    section       1406(a)

 transfer,       regardless of              which party requested the                     transfer or

 the purpose behind the transfer, the transferee court must apply

 the    choice       of    law rules        of    the    state       in which      it    sits.").          As

 the transferee in this case, this court will apply the choice of

 law rules of the Commonwealth of Virginia to determine the law

 applicable to the case.

         In    Virginia,         questions           related          to     the    sufficiency             of

 contract perfonnance are governed by the law of the jurisdiction

 in which the contract was to be performed.                                  Equitable Tr. Co. v.

 Bratwursthaus Mgmt.                 Corp.,       514    F.2d 565,          567    (4th Cir.          1975)

  (citing Arkla Lumber & Mfg.                      Co.    v.    W.    Va.    Timber Co.,        146 Va.

 641,    648    (1926)).        Gradillas'          breach of contract claim revolves

 around        the    adequacy         of        Cherry        Bekaert's       performance            of     a

 contractual          duty     it     is    alleged        to     have      owed    Gradillas,             and

 performance of that duty was                       to have taken place in Virginia.

 See Mem. and Order at 2                   (ECF No.       21) .      Accordingly, Virginia law

 governs Gradillas' claims in the case.
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 8 of 19 PageID# 646



 c.       Breach of Contract.


          Gradillas            seeks     judgment on its            breach of          contract           claim

 against Cherry Bekaert and Crabtree/ urging the conclusion that

 the    parties          are      agreed     in    their       pleadings      as      to    all     legally

 significant elements of that claim.                               Mot.     (ECF No.        37) .        In so

 arguing,             Gradillas         presents         a     tortured      reading          of         Cherry

 Bekaert's Answer,                 omitting several contested material facts and

 distorting Cherry Bekaert's position on others.

          In Virginia, "[t]he elements of a breach of contract action

 are      (1)     a    legally enforceable obligation of                          a   defendant           to a

 plaintiff;             (2)      the    defendant's           violation      or       breach        of     that

 obligation; and (3)                   injury or damage to the plaintiff caused by

 the    breach of               obligation."             Sunrise     Continuing            Care,     LLC v.

 Wright,         277 Va. 148, 154            (2009)          (citing Filak v. George,               267 Va.

 612,     619         (2004)).         The legally enforceable obligation must be

  "to do or not do a particular thing."


 ^ cherry Bekaert elides Gradillas' claims for breach of contract and
 professional malpractice. See Defs.' Br. at 4-5 (ECF No. 41). But Gradillas
 has moved for judgment on the pleadings only as to her breach of contract
 claim.         See Pl.'s Mot.         (ECF No.   37).       In Virginia,   tort and contract claims
 can proceed in parallel if the plaintiff alleges an injury "independent of
 any duties" assumed by the defendant through a contract. See, e.g., Abi-Najm
 V. Concord Condo., LLC, 280 Va. 350, 360-61 (2010) (holding that tort claim
 under the Virginia Consumer Protection Act and claim for fraud in the
 inducement to contract can proceed out of "a single occurrence").   Whether
 Gradillas has properly alleged the existence of a duty independent of those
 assumed by the Defendants through their contract is not presently before the
 court.   This Report, therefore, only addresses the issue of whether Cherry
 Bekaert has controverted sufficient facts to avoid judgment on the pleadings
 as to Gradillas'             contract claim.
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 9 of 19 PageID# 647



 1.       Cherry Bekaert has not admitted i t had a duty to submit the
          bid before         the deadline.


          Gradillas argues Cherry Bekaert has admitted that,                                  through

 the contract i t entered to assist Gradillas                              in general in 2012

 and in the February 2017 emails regarding the SEC bid, it agreed

 to be responsible for submitting the bid before the deadline.

 Pl.'s Br.          at 12      (ECF No 38).         Gradillas identifies two key facts

 in support of its argument.

          First,       it      relies    on    Cherry        Bekaert's     admission          that    it

 formed         a     contract     with       Gradillas           "to   provide       services        in

 preparing the bid."                  Compl. at H 27 {ECF No. 1-2); Answer at f

 27     (ECF No.       24) .     Gradillas argues that this fact -                      along with

 Cherry Bekaert's admission that Gradillas "contacted them to act

 as     [its]       consultants on the bid              .    .   . and requested assistance

 with preparation and                   timely      submission of          the    bid,"       see    id.

  (citing Compl. at H 26 (ECF No. 1-2); Answer at H 26 (ECF No.

 24))     -     establishes        that       Cherry    Bekaert         assumed   a    contractual

 duty to submit the bid on time.

          Second,       Gradillas highlights Crabtree's emails                          to the SEC

 contracting officer after the bid was                              submitted late          in which

 Crabtree said she               took responsibility to the SEC                       for   the     late

 submission.           See Pi. ' s Br. at 12            (citing Compl. at              26     (ECF No.

 1-2) ;       Answer at        H 26     (ECF No.       24)       (admitting   the      text    of    the

 emails         but     no     inference       or      conclusion         drawn     from      them)).
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 10 of 19 PageID# 648



  Gradillas       would        have        the        court     find     these     emails        to   be

  dispositive evidence both of Cherry Bekaert's duty to submit the

  bid on time and its subsequent breach of that duty.                                      See Pl.'s

  Br.    at 12.      It argues the correspondence demonstrates there is

  "no issue of disputed fact that Defendants agreed to submit the

  2017    SEC bid       to    the     SEC       for   their     client,       Gradillas,    on     time,

  and they did not."                Id.

         Gradillas's argument omits several contested material facts

  and ignores       the       court's           duty to draw inferences                from all       the

  facts in favor of Cherry Bekaert as the non-moving party in this

  motion.        S^ Mylan Labs,                  7 F.3d at 1134              (court must read the

  pleading as a whole) .                   As to the terms of the contract, Cherry

  Bekaert seems only to have admitted the existence of a contract

  with Gradillas to "provide services,                           as     [it]    had in the past,"

  but not the terms of that contract as they pertained to which

  party would be responsible submitting the bid on time.                                         Compl.

  at H 27        (ECF No.      1-2) ; Answer at H 27                   (ECF No.    24) .     Although

  Gradillas       may        have     sought          "assistance        with     preparation         and

  timely submission of the bid," Complaint at H 26 (ECF No. 1-2);

  Answer    at     H 26        (ECF       No.    24),        Cherry    Bekaert    only     admits      it

  agreed to provide unspecified services.                              See Answer at H 27 (ECF

  No.     24).       Simultaneously,                  Cherry      Bekaert       also      denied      all

  liability to Gradillas, Answer at K 62                               (ECF No.    24) , denied it

  had a duty to submit the bid on time,                                id.     at f 57,    denied it


                                                        10
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 11 of 19 PageID# 649



  breached        this   duty,       id.        at    58,     and     denied    that        Gradillas

  suffered harm as a result of a breach a duty Cherry Bekaert had,

  id. at HH 60-62.           The reasonable inference, when drawn in Cherry

  Bekaert's        favor,     is         that     the       unspecified       services        in    the

  contract did not          include        submission of Gradillas'              bid before         the


  deadline.


          Regarding         Gradillas'            second       line      of     argument,           the

  significance of Crabtree's emails to the SEC contracting officer

  is similarly overstated when considered against the standard for

  a motion for judgment on the pleadings.                               The emails cannot be

  taken as legal admissions of a duty to submit the bid on time.

  Although they may be compelling evidence of such a duty later in

  the litigation, they are not a sufficient admission to establish

  the     "duty    element"         of    a     contract       claim    for     the    purpose       of

  granting judgment on the pleadings — especially when considered

  alongside        Cherry     Bekaert's              other     statements       in     its     Answer

  specifically denying the existence of a duty to submit the bid

  on time.        See Mylan Labs,             7 F.3d at 1134;          see also,      e.g..    Answer

  at n 18        (ECF No.     24)        (denying Complaint at H 18:                  "Defendants'

  job was to advise Plaintiff Gradillas and properly prepare the

  bids, including the March 2017 bid, and timely submit the bid to

  the SEC.");       Answer at            H 57     (ECF No.      24)    (denying Complaint at

  ^ 57:       "Defendants agreed they would submit a proper complete bid

  to    the    SEC on Plaintiff's               behalf     on or before        the    due    date   and



                                                      11
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 12 of 19 PageID# 650



  time."); Answer at H 58                  (ECF No. 24)          (denying Complaint at H 58:

  ''Defendants          breached        [their]          contract        by   their     failure       to

  complete and submit the bid on time.").                                 Read as a     whole,       the

  pleadings        fall      far   short of         establishing the existence of                    the

  specific duty alleged as a matter of law.

  2.      Cherry        Bekaert      has     not    admitted       it    breached      any   duty     it
          owed Gradillas.


          Relying primarily on Crabtree's emails to the SEC claiming

  the late bid was her "fault," Gradillas also asserts that Cherry

  Bekaert        has    admitted       that    it    submitted          the   bid    three    minutes

  after the bidding deadline.                       See Pl.'s Br. at 12               (ECF No.      38).

  Cherry Bekaert has not admitted this.

          Cherry Bekaert appears only to have admitted that, even if

  it had any legal duty to submit the bid on time — which it

  disputes — its employee was not the one who submitted the bid

  late.      See Answer at H 25 (ECF No. 24)                       (admitting Complaint at H

  25   as   to    the       deadline    for    the       bid on March         17,   2017,    at    12:00

  p.m.      Eastern         Daylight       Time) ;       Answer     at     H 29      (ECF    No.     24)

  (admitting           only that       the    SEC bid was           submitted three minutes

  after     the    deadline          and     specifically         denying      knowledge      of     who

  submitted        the      SEC    bid).       In    addition,       the      record   contains       an

  email     from       Gradillas,       which       is    time    stamped       12:00:05     p.m.     on

  March     17,        in    which     she    instructs          Crabtree      to    send    the     bid

  proposal.            Email from Josephine Gradillas to Sara Crabtree                              (ECF




                                                     12
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 13 of 19 PageID# 651



  No.      41-3).          Because    Cherry           Bekaert       has     not    admitted      who

  submitted         the    late    bid,        and    it    appears        Gradillas    was     still

  transmitting            instructions         after       the    bid    deadline      had   passed.

  Cherry Bekaert has not admitted it breached the putative duty it

  owed Gradillas by submitting the bid late.

  3.       The   court      need     not       consider          whether    Gradillas        suffered
           damages    from the breach of an alleged duty because Cherry
           Bekaert has not admitted i t owed or breached such a                              duty to
           Gradillas.


           Cherry Bekaert has not admitted the existence of a duty to

  submit the bid on time or,                   even if such a duty existed,                  that its

  employee breached that duty.                        Consequently,         the court need not

  decide whether Gradillas'                lost opportunity to bid was enough of

  an injury to establish liability for a breach of contract claim.^
  d.       Cherry Bekaert^s Defenses.

           Gradillas       includes       in    its    Partial       Motion    for     Judgment    on

  the Pleadings a number of arguments assailing Cherry Bekaert's

  affirmative defenses under Rule 12(c).                                See Mot.    (ECF No.     37);

  Pl.'s Br.      at 13-18         (ECF No.       38).        Because affirmative defenses

  can only be challenged by a motion to strike under Rule 12(f),



  ® Gradillas cites a case it says stands for the proposition that merely the
  loss of an opportunity to bid for a contract is sufficient injury to perfect
  a contract claim.         See Pl.'s Br. at 12        (ECF No.    38)   {citing Preferred Sys.
  Sols., Inc. V. GP Consulting, LLC, 284 Va. 382, 398-99 (2012)). The case in
  fact seems to stand for the opposite proposition: the loss of an opportunity
  to bid only satisfies the damages element of a contract claim if there was
  also a    reasonable likelihood that she would have succeeded in that bid.
  Preferred Sys. Sols., 284 Va. at 398-99.                 At the pleadings stage, neither
  issue can be resolved on the facts presented.


                                                      13
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 14 of 19 PageID# 652



  Gradillas'        motion is improper insofar as it is addressed to the

  defenses.             In     the     interest         of     streamlining            the    litigation,

  however,        the court construes Gradillas'                          arguments as a motion to

  strike and will address them against that standard.

          Although           "a     bald    claim      that        a     defense      applies-which            is

  unsupported by the facts alleged                             {or denied)            in the Answer-is

  insufficient . . . a party asserting affirmative defenses                                             [must]

  plead them with sufficient detail to provide the Plaintiff fair

  notice of the nature of the defense."®                                  Mem.     Order at 3-6,          U.S.

  Sec.     & Exch.       Common v.          Woodard,         No.       2:13cvl6-DEM      (E.D.    Va.     June

  30,     2014)     (citing Grant v. Bank of Am., N.A., No. 2;13cv342-HCM,

  2014 WL 792119, at *3                    (E.D. Va. Feb. 25,              2014)).       Cherry Bekaert

  has     alleged        sufficient          facts       to        satisfy    the      notice        pleading

  standard on all its affirmative defenses save a                                     claimed "failure

  to mitigate           damages,"           which      it     has       agreed   to withdraw.                 See

  Answer at 8-9 (ECF No. 24); Def.'s Br. at 16-19 (ECF No. 41).

  1.       Contributory negligence.

           Contributory             negligence          is     available         in     Virginia         as     a

  defense          against          negligence           claims,           including          claims          for



  ® Notice pleading remains the standard for affirmative defenses under Rule
  8(b),     C.f.    Ashcroft,        556 U.S.     at    678    (expressly directing its heightened
  pleading standard to to Complaints under Rule 8(a)(2)); see also United Life
  Ins.    Co. V.    Mays,     No.   2:17cv99-RBS,       2017 WL 3262251,         at *8-9      (E.D. Va.       July
  31,    2017)     (observing that most District Courts in the Fourth Circuit have
  held    that    the   notice      standard    for    affirmative        defenses    under   Rule    8 (b)   was
  unaffected by Twombly and Iqbal).




                                                        14
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 15 of 19 PageID# 653



  professional        malpractice.           Eiss        v.     Lillis,        233       Va.    545,       552

  (1987) .     Cherry Bekaert has alleged that, even if it did have a

  professional duty to submit the bid on time and failed to do so,

  Gradillas is partially at fault for the late submission because

  Gradillas did not give the accounting firm information it would

  have needed to submit the bid on time.                              See Compl. at H 27                   (ECF

  No.   1-2) ; Answer at H 27             (ECF No.            24) .     This is sufficient to

  put   Gradillas       on    notice        that        Cherry        Bekaert        will       assert       a

  contributory negligence defense.

          Gradillas        urges    the     court         to      strike           the    contributory

  negligence defense because it is not available against a breach

  of contract claim.              Pl.'s Br.    at 13-14               (ECF No.      38).        Under the

  generous pleading standard for Rule 12(c), it is sufficient that

  Cherry Bekaert has put Gradillas on notice that it will argue

  that Gradillas's conduct was at least partially responsible for

  the   late    submission of         the    bid.         There        is     no    need       for    Cherry

  Bekaert to have           specified to which of Gradillas'                               claims that

  defense      will   be    directed,       nor     is    there         any    efficiency             in   the

  court      parsing        the    defense         at         this      early        stage           of    the

  proceedings.         It would therefore be inappropriate for the court

  to strike the contributory negligence affirmative defense.

  2.      Lack of Breach of Duty.

          Although     it    was    less     than        careful         drafting          to    place       a

  negative defense under the "Affirmative Defenses" heading, there


                                                   15
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 16 of 19 PageID# 654



  was no harm in the error.                      Because the mistake was harmless and,

  as described at length above.                       Cherry Bekaert has adequately pled

  that it did not breach any duty to Gradillas,                                 this defense will

  not be stricken.


  4.      Assumption of risk.

          Again, Gradillas urges the court to strike this affirmative

  defense because i t is not available against a breach of contract

  claim.       PI. ' s   Br.     at      16     {ECF No.      38).       It    is   sufficient      that

  Cherry Bekaert has put Gradillas on notice that it will argue

  that Gradillas assumed some risk for the late submission by its

  conduct in the matter.                      The specific acts           include at least the

  company's       failure      to        timely provide           data necessary           for   Cherry

  Bekaert's work.


          There     is    no     need         for     Cherry      Bekaert        to   have       further

  specified to which of                   Gradillas'         claims      that       defense will       be

  directed.        It would therefore be inappropriate for the court to

  strike the assumption of risk affirmative defense.

  4.      Failure to state a              claim on which relief can be granted.

          It was not necessai:y for Cherry Bekaert to have included an

  ''alternative      defense"            that    Gradillas        has   not    stated      a   claim   in

  its Complaint upon which relief can be granted."^                                       See Fed. R.


  '    cherry Bekaert    seems      to    make    a   12(b) (6)   argument     in   its   opposition   to
  Gradillas'   Motion.     Def.'s Br,          at 18-19     (ECF No.    41).    Neither the statement
  in the Answer that "Plaintiff's Complaint fails to state a claim upon which
  relief can be granted," Answer at 9 (ECF No. 24), nor the passage from Cherry


                                                       16
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 17 of 19 PageID# 655



  civ.     P.     12(h)    (Rule 12(b) (6)          motion may be made in a pre-answer

  motion,         in a Rule 7(a) pleading,                in a motion for judgment on the

  pleadings,         or at        trial).       Notwithstanding            its       surplus       nature,

  including         it    in   the Answer           is    permissible.              Fed.     R.    Civ.     P.

  12(h)(2)(A).             Moreover,      in pleading the defense.                    Cherry Bekaert

  provides          notice     to       Gradillas         that        Cherry    Bekaert           believes

  Gradillas         has     not     stated      a    claim       upon    which        relief        can     be

  granted.         The     briefing       further         elucidates       the        basis        for     the

  defense, which in any event was sufficiently pled.

  5.      Failure to Mitigate Damages.

          Cherry          Bekaert       makes       no     objection           to     striking            this

  affirmative         defense.          Def.'s      Br.    at    19    (ECF No.       41).        As     such,

  it should be stricken,                 and Cherry Bekaert may seek to amend the

  Answer          according        to    Rule       15      if     discovery          reveals            facts

  sufficient to support its assertion at a later time.

                                        III.    RECOMMENDATION


          For      the     foregoing        reasons,         the       court        should        DENY     the

  Plaintiff's Motion for                  Partial         Judgment      on the        Pleadings           (ECF

  No.     37) .      But as       construed by the               court GRANT its             request        to

  strike        the Defendant's          failure          to mitigate      damages           affirmative



  Bekaert's present brief is a sufficient "motion to dismiss" because neither
  complies with the local rules, which require such a motion to be accompanied
  by a supporting brief.  See Fed. R. Civ. P. 7(b); E.D. Va. Civ. R. 7(F).  As
  such,   the court does not consider the merits of whether Gradillas has failed
  to state a claim upon which relief can be granted at this time.



                                                     17
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 18 of 19 PageID# 656



  defense.         This      defense       should       therefore       be    STRICKEN       from    the


  Answer.


                                     IV.     REVIEW PROCEDURE


          By copy of this Report and Recommendation,                             the parties are

  notified that pursuant to 28 U.S.C. § 636(b)(1)(C):

          1.      Any    party     may      serve       upon    the    other     party       and    file

  written objections to the foregoing findings and recommendations

  within fourteen days from the date of service of this Report on

  the objecting party,             28 U.S.C.        § 636(b)(1)(C),            computed pursuant

  to Rule        6(a)   of   the Federal Rules of Civil Procedure.                            A party

  may respond to another party's objections within fourteen days

  after being served with a copy thereof.

           2.     A district judge shall make a de novo determination of

  those         portions      of     this        report        or     specified       findings        or

  recommendations to which objection is made.

          The     parties      are     further          notified       that     failure      to     file

  timely objections to the findings and recommendations set forth

  above will result in waiver of right to appeal from a                                      judgment

  of      this    court      based     on        such    findings        and    recommendations.

  Thomas v.       Arn,     474 U.S.        140    (1985);      Carr v.       Hutto,   737 F.2d 433

   (4th    Cir.    1984);     United        States       v.    Schronce,       727    F.2d    91    (4th

  Cir.    1984).




                                                    18
Case 2:17-cv-00597-RBS-DEM Document 45 Filed 03/02/18 Page 19 of 19 PageID# 657




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                                           Douglas E. Mil!
                                           United States Magistrate Judge
                                           DOUGLAS    E.     MILLER
                                           UNITED STATES
                                           MAGISTRATE JUDGE


  March        2018




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